          Case 1:20-cv-03104-CM Document 38 Filed 05/04/20 Page 1 of 3



                         IN THE UNITED STATES DISTRICT
                COURT FOR THE SOUTHERN DISTRICT OF NEW YORK



  SEAN BURKE and JAMES POMERENE,
  individually and on behalf of all others similarly      Civil Action No.: 1:20-cv-03104-CM
  situated,

                                 Plaintiffs,               Scott R. Drury’s Motion for
                                                           Admission Pro Hac Vice Pursuant
          v.                                               to Local Civil Rule 1.3
  CLEARVIEW AI, INC. a Delaware
  Corporation; HOAN TON-THAT, an
  individual; RICHARD SCHWARTZ, an
  individual; and DOES 1 through 10, inclusive

                                 Defendants.



Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and Eastern
Districts of New York,          Scott R. Drury                           hereby moves this Court
for an Order for admission to practice Pro Hac Vice to appear as counsel for
                             Intervenor David Mutnick              in the above-captioned action.


I am in good standing of the bar(s) of the state(s) of             Illinois                  and
there are no pending disciplinary proceedings against me in any state or federal court. I have
never been convicted of a felony. I have never been censured, suspended, disbarred or denied
admission or readmission by any court. I have attached the affidavit pursuant to Local Rule 1.3.




                                                  1
        Case 1:20-cv-03104-CM Document 38 Filed 05/04/20 Page 2 of 3



Dated: May 4, 2020           Respectfully Submitted,
                             Scott R. Drury

                             Applicant Signature:

                             Applicant’s Name: Scott R. Drury

                             Firm Name: Loevy & Loevy

                             Address: 311 N. Aberdeen St., 3rd Floor

                             City/State/Zip: Chicago, Illinois, 60607

                             Telephone/Fax: 312-243-5900/5902

                             Email: drury@loevy.com




                                       2
           Case 1:20-cv-03104-CM Document 38 Filed 05/04/20 Page 3 of 3




                                 CERTIFICATE OF SERVICE
       I, Scott R. Drury, hereby certify that on May 4, 2020, I caused the foregoing Motion for

Admission Pro Hac Vice and accompanying Affidavit, Certificate of Good Standing, and Proposed

Order to be filed with the Clerk of the Court and served upon all counsel of record via the Court’s

CM/ECF system.




                                                     SCOTT R. DRURY
